            Case 2:96-cr-00350-WBS Document 981 Filed 11/06/15 Page 1 of 2

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 WILLIAM S. WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:96-CR-350 WBS/215-CV-01367WBS
11
                                 Plaintiff,               ORDER FINDING A WAIVER OF ATTORNEY-
12                                                      CLIENT PRIVILEGE AND REQUIRING
                           v.                           DISCLOSURES FROM PRIOR COUNSEL
13   MADY CHAN,
14                              Defendant.
15

16
           Upon the United States’ Motion and for the reasons set forth therein, the Court
17

18     1. FINDS that defendant Mady Chan’s Section 2255 petition, filed June 26, 2015, has waived

19         privilege over his prior communications, both written and oral, with his counsel, Timothy

20         Warner, Esq., as it relates to defendant’s Section 2255 petition claiming that he received

21         ineffective representation of counsel regarding his right to speedy trial and whether the defendant

22         knowingly and voluntarily waived his right to a speedy trial in order to obtain the benefit of

23         dismissal of charges in the indictment against his parents, former wife, and for himself, by

24         entering into a plea agreement in which he waived or gave up his right to a speedy trial;

25     2. ORDERS Timothy Warriner to transmit to counsel for the United States all documents related to

26         the communications with the defendant as it relates to the issues raised by the defendant in his

27         Section 2255 petition; and

28
                                                        1

30
           Case 2:96-cr-00350-WBS Document 981 Filed 11/06/15 Page 2 of 2

 1     3. FURTHER ORDERS Timothy Warriner to submit to such interviews as reasonably requested

 2        by United States concerning their response to the defendant’s section 2255 petition claiming that

 3        the defendant received ineffective representation of counsel regarding his right to speedy trial

 4        and whether the defendant knowingly and voluntarily waived his right to a speedy trial in order

 5        to obtain the benefit of dismissal of the charges in the indictment against his parents, former

 6        wife, and for himself, by entering into a plea agreement in which he waived or gave up his right

 7        to a speedy trial.

 8

 9        IT IS SO ORDERED.
10

11   Dated: November 5, 2015

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                       2

30
